Case 2:18-cr-00003-JPJ-PMS Document 731 Filed 03/10/20 Page 1 of 4 Pageid#: 6347




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                         BIG STONE GAP DIVISION


 UNITED STATES OF AMERICA                     )
                                              )
                                              )      Case No. 2:18CR00003-001
                                              )
 v.                                           )       OPINION AND ORDER
                                              )
 ROY LEE DYKES,                               )      By: James P. Jones
                                              )      United States District Judge
               Defendant.                     )


        Roy Lee Dykes, Pro Se Defendant.

        After a five-day jury trial, the defendant Roy Lee Dykes was convicted on

 September 20, 2019, of conspiracy to distribute or possession with intent to

 distribute controlled substances. He was also convicted by the jury of one count of

 distributing or possessing with intent to distribute various controlled substances, as

 well as seventeen counts of distributing or possessing with intent to distribute

 methamphetamine, heroin, cocaine, oxycodone, and alprazolam. On January 15,

 2020, he was sentenced by this court to a total term of imprisonment of 325 months.

 A written judgment incorporating this sentence was entered on January 16, 2020.1

        1
          Dykes’ codefendant and spouse, Leila Varretta Hector, was also convicted by the
 jury of conspiracy to distribute or possess with intent to distribute controlled substances
 and distributing or possessing with intent to distribute 50 grams or more of
 methamphetamine. She was sentenced on December 19, 2019, to 121 months
 imprisonment on each count to run concurrently.
Case 2:18-cr-00003-JPJ-PMS Document 731 Filed 03/10/20 Page 2 of 4 Pageid#: 6348




       Prior to his sentencing, on January 10, 2020, Dykes filed a pro se motion

 seeking a new trial based on newly discovered evidence. The court denied the

 motion orally at the time of Dykes’ sentencing, ECF No. 674, but advised that it

 would later set forth the grounds for the denial. This Opinion and Order constitutes

 that the grounds for denial of Dykes’ motion.2 

      The Fourth Circuit applies a five-part test to determine whether newly discovered

 evidence warrants a new trial: (1) the evidence is newly discovered; (2) the defendant

 used due diligence; (3) the evidence is not merely cumulative or impeaching; (4) the

 evidence is material; and (5) the evidence would probably result in an acquittal at a new

 trial. United States v. Custis, 988 F.2d 1355, 1359 (4th Cir. 1993). A motion for a new

 trial must be denied if the defendant cannot establish all five factors. United States v.

 Chavis, 880 F.2d 788, 793 (4th Cir. 1989)ѵ

      The government’s case against Dykes was overwhelming. Dykes confessed

 his extensive drug trafficking activities to law enforcement agents after his arrest,

 and the government introduced video and audio of Dykes’ sales of drugs to an

 undercover officer. Controlled substances and large amounts of cash were seized


       2
             Dykes’ attorney filed a timely Motion for a New Trial following the jury’s
 verdict, which was denied. United States v. Dykes. No. 2:18CR00003-001, 2019 WL
 6729323, at *4 (W.D. Va. Dec. 11, 2019). Dykes had in sequence three different attorneys
 in this case, two of them privately retained by him and one appointed by the court. (Two
 other attorneys were appointed but had to withdraw in short order because of conflicts
 involving other cases.) He complained about all three and continually filed pro se motions
 and pleadings in spite of being represented.

                                             2
Case 2:18-cr-00003-JPJ-PMS Document 731 Filed 03/10/20 Page 3 of 4 Pageid#: 6349




 from him and his codefendant spouse. Dykes testified and claimed that someone

 he believed was a federal DEA agent in Georgia named Ronnie Baffo had enlisted

 him to travel to Virginia to sell drugs provided to him by Baffo, although he admitted

 that he may have been duped by this person. In rebuttal, the government introduced

 evidence that there was no agent with that name in the DEA and that no arrangement

 as described by Dykes had ever been approved.

      Dykes makes three claims of newly discovered evidence. First, he contends

 that after his trial he read in a local newspaper about another drug case involving a

 defendant named Adrian Romero who he suspects set him up in his own case.

 Secondly, he has submitted a handwritten statement by a person named Terry M.

 Dalton that on September 2, 2019, Dalton heard another inmate, Tommy Houston,

 say that while in jail he heard James Cleghorne, a witness against Dykes, say that

 he, Cleghorne, believed defendant Dykes was “police.” Mot., ECF No. 668, p. 8.

 Finally, Dykes claims, without any specifics, that “we have several cases of people

 pretending to be agents in Georgia.” Id. at 5.

       None of these claims meets the tests required. The alleged newly discovered

 evidence is not material, would not be admissible, and would not have resulted in an

 acquittal. Dykes’ motion is without merit.

       For these reasons, the defendant’s motion, ECF No. 668, is DENIED.

       It is so ORDERED.


                                           3
Case 2:18-cr-00003-JPJ-PMS Document 731 Filed 03/10/20 Page 4 of 4 Pageid#: 6350




                                           ENTER: March 10, 2020


                                           /s/ JAMES P. JONES
                                           United States District Judge




                                       4
